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     In the United States Court of Federal Claims
                 Nos. 02-1041T and 04-1598T (consolidated)
                          (Filed: August 17, 2007)


************************
LYMAN F. BUSH, et al.,
                                                        Partnership Tax; Tax
                       Plaintiffs,                      Equity and Fiscal
                                                        Responsibility Act, 26
v.                                                      U.S.C. §§ 6221-6233;
                                                        Statutory Notice of
THE UNITED STATES,                                      Deficiency.

                       Defendant.

************************

      Thomas E. Redding, Houston, TX, with whom were Sallie W. Gladney,
and Teresa J. Womack, for plaintiffs.

       Benjamin C. King, Jr., United States Department of Justice, Tax Division,
Washington, DC, with whom were Mary M. Abate, Assistant Chief, David Gustafson,
Chief, and Eileen J. O’Connor, Assistant Attorney General, for defendant.
                                  _________

                                     OPINION
                                     _________

BRUGGINK, Judge.

        This case is one of approximately thirty tax refund suits brought by partners
of various partnerships marketed by the Greenberg Brothers Partnership. In
an order issued on October 24, 2005, the court selected two of these Greenberg-
related cases, Case No. 02-1041T (Bush) and Case No. 02-1042T (Shelton),
for briefing and representative resolution.1/


       1
        Case No. 02-1041T was consolidated with Case No. 04-1598T and
Case No. 02-1042T with Case No. 04-1595T. The remaining Greenberg-
related cases were stayed. Contemporaneously herewith, the court is filing an
                                                             (continued...)
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        Plaintiffs Lyman F. Bush and Beverly J. Bush, deceased and represented
by Lyman F. Bush as personal representative for the estate of Beverly J. Bush,
have moved for summary judgment with regard to a portion of their claims.
In this pending summary judgment motion, plaintiffs claim that post-settlement
assessments for tax years 1985, 1986 and 1987, made by the Internal Revenue
Service (“IRS”), were invalid because a statutory notice of deficiency was not
issued prior to the assessments. Defendant has cross-moved. The matter is fully
briefed. Oral argument was heard on August 8, 2007. For reasons set out below,
we deny plaintiffs’ motion and grant defendant’s cross-motion for partial summary
judgment.

                               BACKGROUND

        Plaintiffs were limited partners in the Greenberg Brothers Partnership
#12, Lone Wolf McQuade (“LWM”), for tax years 1983 to 1995. Plaintiffs
were also limited partners in the Greenberg Brothers Partnership Cinema ‘84
(“Cinema ‘84”) for tax years 1984 to 1995. On July 8, 1991, the IRS issued
Notices of Final Partnership Administrative Adjustment (“FPAA”) for tax years
1983, 1984, 1985 and 1986 to the then Tax Matters Partner (“TMP”) for LWM.
In the FPAA, the IRS explained its determination disallowing deductions reported
on the LWM partnership’s 1983-1986 partnership returns. On October 15, 1991,
the IRS issued FPAAs for Cinema ‘84’s 1985-1989 tax years, disallowing
deductions reported on the partnership returns for those tax years.

        The TMP filed separate petitions on behalf of LWM and Cinema ‘84
in the United States Tax Court on October 7, 1991 and January 8, 1992,
respectively, challenging the IRS’s proposed adjustments for each partnership.
On December 2, 1994, plaintiffs filed a notice of election to participate in the
Tax Court proceeding involving Cinema ‘84. On February 8, 1995, plaintiffs
filed a notice of election to participate in the Tax Court proceeding involving
LWM.




       1
        (...continued)
order dealing with the Shelton case (Case Nos. 02-1042T and 02-1595T,
consolidated), in which plaintiff’s motion for summary judgment is denied for
reasons identical to those set out in this opinion.

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       On August 7, 1999, while the proceedings involving the two partnerships
were pending in the Tax Court, plaintiffs and the IRS entered into two separate
Form 906 Closing Agreements on Final Determination Covering Specific Matters
(“Closing Agreements”), settling matters with respect to LWM and Cinema
‘84. The two Closing Agreements were substantially the same. Subsequently,
on September 1, 2000, the Tax Court dismissed plaintiffs as parties in both the
LWM and Cinema ‘84 partnership proceedings.2/

       The Closing Agreements provided in relevant part:

       1.     No adjustment to the partnership items shall be made for
              the taxable years 1983 through 1995 [for LWM; for Cinema
              ‘84, 1984-1995] for purposes of this settlement.

       2.     The taxpayers are entitled to claim their distributive share
              of the partnership losses for 1983 through 1995 [for LWM;
              for Cinema ‘84, 1984-1995] only to the extent they are
              at risk under I.R.C. § 465.

       3.     The taxpayers’ amount at risk for 1983 through 1986 [for
              LWM; for Cinema ‘84, 1984-1989] is their capital
              contribution to the partnership.

       4.     The taxpayers’ capital contribution to the partnership is
              $50,000.

       5.     Taxpayers’ qualified investment for computing investment
              tax credit is the amount at risk as set forth in paragraph
              #4.

       6.     The taxpayers are not at risk under I.R.C. § 465 for any
              partnership notes, entered into by the partnership to acquire
              rights in [motion pictures], whether or not assumed by the
              taxpayers. Any losses disallowed under this agreement
              are suspended under I.R.C. § 465. Such suspended losses
              may be used to offset the taxpayers’ pro rata share of any



       2
        The Tax Court dismissed the proceedings with respect to the rest of the
participants upon conclusion of partnership-level matters.

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             income earned by the partnership and/or other income in
             accordance with the operation of I.R.C. § 465.

      7.     To the extent the taxpayers make additional cash
             contributions to the capital of the partnership after 1986
             [for LWM; for Cinema ‘84, 1989], the taxpayers’ amount
             at risk will be increased in accordance with I.R.C. § 465.

      8.     To the extent the partnership earns net income the
             taxpayers’ at risk will be increased in accordance with
             I.R.C. § 465.

      9.     To the extent the taxpayers make cash payments on the
             partnership notes after the date of execution of this
             agreement by the Commissioner and the taxpayers, the
             taxpayers’ amount at risk will be increased in accordance
             with I.R.C. § 465.

      ....

      15.    Any refund claim attributable to the operation of this
             agreement shall be deemed to be timely filed and shall be
             allowed if it is filed with the IRS within one year of the
             execution of this agreement by the Commissioner of Internal
             Revenue. Any refund claim so submitted pursuant to this
             paragraph within 120 days after the execution of this
             agreement on behalf of the Commissioner of Internal
             Revenue shall be allowed as an offset pursuant to I.R.C.
             §§ 6402(a) and 6601(f) against any tax deficiencies resulting
             from this agreement.

Closing Agreements (Aug. 7, 1999).3/

       On November 23, 1999, plaintiffs filed refund claims with the IRS for
tax years 1988, 1990, 1991, 1992, 1993, and 1995. While these refund claims
were still pending, on July 12, 2000, the IRS issued Forms 4549A-CG, notices



      3
       The Closing Agreements for LWM and Cinema ‘84 are substantively
the same. The factual differences are noted in brackets.

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of adjustment, showing adjustments it made to plaintiffs’ 1985, 1986 and 1987
tax years. In plaintiffs’ tax year 1983, the IRS allowed losses from LWM in
the amount of $50,000.00 using up the entire amount at-risk available under
paragraph 4 of the Closing Agreement for LWM. In plaintiffs’ tax year 1984,
losses from Cinema ‘84 in the amount of $45,187.00 were allowed, using up
the bulk of the § 465 amount available for that partnership.

        In the original return for tax year 1985, plaintiffs had reported losses
for LWM in the amount of $33,442.00 and losses for Cinema ‘84 in the amount
of $21,553.00. The notice of adjustment issued on July 12, 2000 for plaintiffs’
1985 tax year allowed none of the losses for LWM. This resulted in an adjustment
of $33,442.00. The notice also allowed $4,813.00 of the $21,553.00 reported
losses for Cinema ‘84. This resulted in an adjustment of $16,740.00. The notice
also disallowed $2,063.00 from itemized deductions reported as contribution
carryover. Plaintiffs’ tax liability for 1985 was, as a result, increased by
$16,708.00.

        In the original return for tax year 1986, plaintiffs had reported $34,003.00
for losses from LWM and $20,079.00 for losses from Cinema ‘84. The notice
of adjustment for plaintiffs’ 1986 tax year allowed none of the losses reported
for LWM, resulting in an adjustment of $34,003.00. None of the reported losses
from Cinema ‘84 was allowed, resulting in an adjustment of $20,079.00. These
adjustments resulted in an increase in plaintiffs’ tax liability for 1986 of
$10,817.00.

        For tax year 1987, plaintiffs had reported their distributive share of income
from LWM in the amount of $398.00, and losses from Cinema ‘84 in the amount
of $25,733.00. The notice of adjustment for plaintiffs’ 1987 tax year increased
plaintiffs’ at-risk amount by $398.00 pursuant to paragraph 8 of the Closing
Agreements. The notice disallowed $25,733.00, all of the losses they claimed
for Cinema ‘84. These adjustments resulted in an additional tax liability in the
amount of $9,635.00 for 1987.




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        On July 31, 2000,4/ the IRS made the assessments. For plaintiffs’ 1985
tax year, the IRS assessed $16,708.00 in tax and $42,660.44 in interest. For
plaintiffs’ 1986 tax year, the IRS assessed $10,817.00 in tax and $46,004.97
in interest. For plaintiffs’ 1987 tax year, the IRS assessed $9,635.00 in tax and
$26,729.62 in interest. No notice of deficiency was issued prior to these
assessments. On August 8, 2000, plaintiffs paid the assessed tax and interest
for the 1985-1987 tax years.

        On August 23, 2000, the IRS denied the refund claims filed by plaintiffs
for tax years 1990, 1992, 1993 and 1995. On August 23, 2002, plaintiffs filed
a complaint in this court seeking a refund of tax and interest they paid for tax
years 1988, 1990, 1991, 1992, 1993 and 1995 (Case No. 02-1041T).

        On July 18, 2002, plaintiffs filed a second round of refund claims for
tax and interest for tax years 1985, 1986 and 1987 assessed by the IRS in the
July 12, 2000 issuance. When the IRS denied the refund claims on October
23, 2002, plaintiffs filed a refund suit here on October 25, 2004 (Case No. 04-
1598T). This case was later consolidated with Case No. 02-1041T, filed by
plaintiffs on August 23, 2002, claiming refunds for the later tax years.

        Plaintiffs filed the present motion for summary judgment on December
29, 2006, claiming that the IRS improperly assessed tax deficiencies without
issuing a prior statutory notice of deficiency and that they are entitled to a refund
of the tax and interest paid for tax years 1985 through 1987. The other tax years
in the suit are not at issue in the present motions. Defendant has cross-moved
and claims that no statutory notice of deficiency was required and that the
assessments were properly made.

                                  DISCUSSION

        The resolution of these cross-motions turns on whether the IRS was required
to issue a statutory notice of deficiency prior to its assessments following the
Closing Agreements with plaintiffs. Plaintiffs argue that the assessments for
tax years 1985, 1986 and 1987 are invalid because a statutory notice of deficiency



       4
        Plaintiffs note that they are not conceding July 31, 2000 as the actual
date of assessment and are using the date only for purposes of the present
motion. Plaintiffs further state that they plan to challenge the date of
assessment if their motion is not granted.

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was not issued prior to the assessments. Plaintiffs contend that the assessments
arose from adjustments to plaintiffs’ at-risk amount, which is an “affected item”
requiring a factual determination at the individual partner level.5/ Because a
statutory notice of deficiency is required for assessing factual-affected items,
and because none was issued, plaintiffs claim that the assessments are invalid.
They also argue that these cannot be re-assessed because the statute of limitations
for assessments has run, hence they are entitled to a refund.

         Defendant concedes that no notice of deficiency was issued but counters
that one was not required because the assessments entailed only stipulated
computational adjustments made pursuant to the Closing Agreements. Resolving
this issue requires an understanding of the statutory scheme governing partnership
taxation, the Tax Equity and Fiscal Responsibility Act (“TEFRA”) as codified
in 26 U.S.C. §§ 6221-6233 (2000).

        A partnership does not pay tax as an entity. See id. § 701; Olson v. United
States, 172 F.3d 1311, 1316 (Fed. Cir. 1999) (“Olson II”); AD Global Fund,
LLC v. United States, 67 Fed Cl. 657, 660 (2005), aff’d, 481 F.3d 1351 (Fed.
Cir. 2007). Instead, it files an annual information return reporting items of income,
deduction, and credit. See 26 U.S.C. § 6031; Conway v. United States, 50 Fed.
Cl. 273, 276 (2001). Then, individual partners report their distributive shares
of a partnership’s income and deductions on their personal tax returns. Olson
II, 172 F.3d at 1317. These items on the personal tax returns are referred to
as “partnership items” and defined as “any item[s] required to be taken into account
for the partnership’s taxable year . . . [that are] more appropriately determined
at the partnership level than at the partner level.” 26 U.S.C. § 6231(a)(3). Partners
must report those partnership items in their individual tax returns consistently
with the partnership return. Id. § 6222(a); Olson II, 172 F.3d at 1316.

       In order to conduct an audit on these partnership items and determine
partnership tax liability, the IRS is required, by TEFRA, to conduct a single
proceeding at the partnership level in which every partner has a right to participate.
See 26 U.S.C. §§ 6221, 6224(a). The IRS is required to give notice of the
beginning of partnership-level proceedings to all partners whose names and
addresses are known to the IRS. See id. § 6223(a)(1); Callaway v. Comm’r,
231 F.3d 106, 109 (2d Cir. 2000). Such a notice must be mailed at least one
hundred and twenty days before a notice of an FPAA is issued to the TMP.



       5
           See discussion of “affected items” and “factual determinations,” infra.

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See 26 U.S.C. § 6223(d)(1). Individual partners can opt out of the partnership
proceedings by settling with the IRS. See id. § 6224 (c); Olson II, 172 F.3d
at 1317. Upon completion of partnership-level proceedings, the IRS issues an
FPAA to the TMP and to each partner. See 26 U.S.C. §§ 6223(a), 6223(d)(2),
6231(a)(7). The IRS may assess individual partners with tax attributable to their
distributive share of the adjusted partnership items as a computational adjustment,
and without prior issuance of a notice of deficiency. See id. §§ 6225(a),
6230(a)(1), 6231(a)(6); Callaway, 231 F.3d at 109-110.

        In general, the limitations period for assessing an individual’s tax liability
is three years from the date of filing of a tax return for a given tax year. 26 U.S.C.
§ 6501(a). The limitations period for tax attributable to partnership items,
however, does not expire prior to three years from the date on which the
partnership return for the taxable year was filed. See id. § 6229(a); AD Global
Fund, LLC v. United States, 481 F.3d 1351, 1354 (Fed. Cir. 2007). Moreover,
the mailing of an FPAA suspends the running of the statute of limitations for
up to one year and one hundred and fifty days. See 26 U.S.C. § 6229(d). Once
an FPAA is issued, the TMP then has ninety days to file a petition for readjustment
either at the Tax Court, a district court or this court. See id. § 6226(a). If the
TMP does not file a petition within the prescribed time period, other partners
may file a petition within the next sixty days. See id. § 6226(b)(1).

        Once a petition is filed, no assessment on the partnership tax liability
can be made until the resolution of the claim. See id. § 6225(a)(2). If no petition
is filed before the expiration of the 150-day period from the date a notice of
an FPAA is mailed to the TMP, then the IRS may assess a deficiency. See id.
§ 6225(a)(1). Once an assessment is made, a refund suit is generally not allowed
for a refund attributable to partnership items. See id. § 7422(h).

        As for those items that are not partnership items on a partner’s individual
tax return, the IRS determines deficiencies in tax for such items pursuant to
the “standard” procedures set forth in 26 U.S.C. §§ 6211-6216. Olson II, 172
F.3d at 1317. Any item which is not, or is not treated as, a partnership item
is a non-partnership item. See 26 U.S.C. § 6231(a)(4). Certain non-partnership
items, however, are “affected by a partnership item,” and are accordingly termed
“affected items.” Id. § 6231(a)(5). For example, the amount of a medical expense
deduction is an affected item because it depends on the partner’s adjusted gross
income, which in turn depends on the partner’s share of partnership income
or loss. See N.C.F. Energy Partners, 89 T.C. at 744. The amount a partner



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has at-risk in a partnership is also an affected item. 26 C.F.R. § 301.6231(a)(5)-1(c)(2006).

        Affected items are then further divided into those that require a factual
determination specific to an individual partner and those which do not. Olson
II, 172 F.3d at 1317; N.C.F. Energy Partners v. Comm’r, 89 T.C. 741, 744 (1987).
Those affected items requiring factual determinations are generally subject to
the notice requirement. See 26 U.S.C. § 6230(a)(2)(A)(i); Olson II, 172 F.3d
at 1317; Woody v. Comm’r, 95 T.C. 193, 202 (1990). Factual determinations
which trigger the notice of deficiency requirement involve an individual
examination into the correctness of declared figures or the individual’s state
of mind at the time of filing. See Olson II, 172 F.3d at 1318. To assess a
deficiency attributable to that item, the IRS must issue a notice of deficiency
prior to assessment. Id. Once the IRS mails a notice of deficiency to the taxpayer,
the taxpayer may file a petition with the Tax Court within ninety days from the
mailing of the notice. See 26 U.S.C. § 6213(a). If a petition is filed with the
Tax Court, no assessment can be made until a final decision is rendered by the
Tax Court. See id. § 6213(a); Olson II, 172 F.3d at1317.

        Adjustments attributable to those affected items which do not require
partner-level factual determinations are not subject to a notice of deficiency
requirement. See Woody, 95 T.C. at 202; N.C.F. Energy Partners, 89 T.C. at
744; Maxwell v. Comm’r, 87 T.C. 783, 792, n.7 (1986). Also, “a settlement
is usually applied to a partner by means of a computational adjustment and not
under the ordinary deficiency and refund procedures.” Bob Hamric Chevrolet,
Inc. v. United States, 849 F. Supp. 500, 510 (W.D. Tex. 1994). See 26 U.S.C.
§ 6230(a)(2)(A)(ii) & (c); Harris v. Comm’r, 99 T.C. 121, 126 (1992); Powell
v. Comm’r, 96 T.C. 707, 712 (1991).

        The parties are in agreement that the deficiencies assessed here were
attributable to the plaintiffs’ at-risk amounts (i.e., affected items). They disagree,
however, on what type of affected items they are. Plaintiffs assert that case
law affirmatively establishes that a partner’s amount at-risk under § 465 is per
se a substantive affected item (i.e., an affected item requiring factual
determinations at the partner level). As support, plaintiffs cite 26 C.F.R. §
301.6231(a)(5)-1(c), as well as Cinema ‘84 v. Comm’r, 294 F.3d 432, 436 (2d
Cir. 2002), Greenberg Bros. P’ship #4 v. Comm’r, 111 T.C. 198, 201-202 (1998),
Hambrose Leasing 1984-5 Ltd. Partnership v. Comm’r, 99 T.C. 298, 312 (1992),
Roberts v. Comm’r, 94 T.C. 853, 861 (1990), and N.C.F. Energy Partners, 89
T.C. 741. Plaintiffs specifically point to Cinema ‘84 and Greenberg Brothers
Partnership #4 as “specifically recogniz[ing] that the amount at risk with respect

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to Cinema ‘84 is a nonpartnership, substantive affect[ed] item.” Pls.’ Mot. for
Summ. J. at 11.

        26 C.F.R. § 301.6231(a)(5)-1(c) states that “[t]he application of the at-risk
limitation under section 465 to a partner with respect to a loss incurred by a
partnership is an affected item to the extent it is not a partnership item.” This
section does not deal with the specific question here, namely, whether such item
is one requiring factual determination or is a mere computational adjustment.
Furthermore, as defendant correctly points out, none of the cases plaintiffs cite
support plaintiffs’ contention that the at-risk amount is, by its very nature, an
affected item requiring factual determinations and, hence, a notice of deficiency.
Rather, these cases merely state a general rule that the determination of a partner’s
amount at-risk is not a partnership item but an affected item. See Cinema ‘84,
294 F.3d at 436; Greenberg Bros. P’ship #4, 111 T.C. at 201-202; Hambrose
Leasing, 99 T.C. at 312; Roberts, 94 T.C. at 861; N.C.F. Energy Partners, 89
T.C. 741. Instead, as defendant argues, the Federal Circuit’s decision in Olson
is most closely on point.6/

        In Olson v. United States, 37 Fed. Cl. 727(1997) (“Olson I”), a claimed
tax credit was invalidated in a partnership-level determination and the IRS assessed
the distributive share of the invalidated credit claimed as carrybacks and
carryforwards against individual partners. The partners filed suit in this court
claiming the assessments were illegal because the IRS did not first issue a notice
of deficiency. Finding the disputed assessments to be mere computational
adjustments, the court held that the IRS assessments were valid. See Olson I,
37 Fed. Cl. at 735-37.

       On appeal, the Federal Circuit affirmed, concluding that the assessment
“entailed nothing more than reviewing the taxpayers’ returns for the years in
question, striking out the tax credits that had been improperly claimed, and re-



       6
         Defendant further claims that cases have held that a notice of
deficiency is not required prior to an assessment resulting from a settlement
agreement, citing Olson II, 172 F.3d 1311, Cummings v. Comm’r, T.C. Memo.
1996-282 (1996) and Bob Hamrick Chevrolet, 849 F.Supp. at 512. While this
may be true when applying a settlement agreement involving only
computational adjustments, a notice of deficiency is still required where
further factual determinations are necessary. See Bob Hamrick Chevrolet, 849
F.Supp. at 510.

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summing the remaining figures.” Olson II, 172 F.3d at 1318. The court added
that even if the computation required the IRS to ask the taxpayer for a figure
or the source of a figure, the adjustment would still be computational. See id.
Because the central question of fact, the amount of tax credits improperly claimed,
had already been stipulated in a settlement agreement between the partners and
the IRS, the application of the stipulated fact to the tax returns involved only
a computational adjustment. See id.

        The present situation is indistinguishable. No non-computational
determination is required to fix any tax deficiency attributable to the plaintiffs’
amount at-risk for the years at issue in the cross-motions. In paragraphs 2 through
9 of the Closing Agreements, plaintiffs and the IRS stipulated to plaintiffs’ at-risk
amount as well as how it may be increased. Plaintiffs and the IRS agreed in
paragraph 3 that the source of plaintiffs’ amount at-risk for tax years 1983 through
1986 for LWM and 1984 through 1989 for Cinema ‘84, was their capital
contribution to the partnership. In paragraph 4, the Closing Agreements show
that plaintiffs and the IRS stipulated that the exact amount of this source, capital
contribution, was $50,000.00. For LWM, the IRS allowed losses in the amount
of $50,000.00 in 1983. Plaintiffs, therefore, had no remaining at-risk allowance
with respect to LWM for subsequent years unless it was increased pursuant to
paragraphs 7, 8 and 9 of the Closing Agreements. As a result, plaintiffs’ reported
losses for LWM in 1985 in the amount of $33,442 were entirely disallowed.

         With respect to Cinema ‘84, because the IRS allowed losses of $45,187
in plaintiffs’ tax year 1984, it allowed the remainder from $50,000, or, $4,813,
as at-risk allowance in tax year 1985. The adjustment of tax liability and interest
was then made accordingly.

       Likewise, for tax year 1986, because plaintiffs’ at-risk amounts were
not increased, the IRS simply disallowed all of the reported losses from both
LWM and Cinema ‘84. The tax liability and interest were adjusted accordingly.

        For tax year 1987, there was income from LWM – plaintiffs’ distributive
share being $398.00. According to paragraph 8 of the Closing Agreement,
plaintiffs’ at-risk amount was increased by $398.00 and the adjustment was made
accordingly. There was no income from Cinema ‘84 and therefore the IRS
disallowed all of the reported losses. The resulting tax liability and interest were
adjusted accordingly. It is undisputed that plaintiffs are not entitled to any other
adjustment to their at-risk amount for any reason allowed in the Closing
Agreements, at least for the three years that are at issue.

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       All of these adjustments were made without the need for any further
information from plaintiffs. The numbers were available from plaintiffs’ tax
returns, and the IRS merely had to apply the terms of the Closing Agreements
to these numbers through a computation.

       At oral argument, plaintiffs conceded that the assessments at issue could
be determined by computation only. Plaintiffs contend, however, that, in this
particular situation, the assessment does not meet the definition of a
“computational adjustment” provided in the statute:

       The term “computational adjustment” means the change in the
       tax liability of a partner which properly reflects the treatment under
       this subchapter of a partnership item. All adjustments required
       to apply the results of a proceeding with respect to a partnership
       under this subchapter to an indirect partner shall be treated as
       computational adjustments.

26 U.S.C. § 6231(a)(6). Plaintiffs claim that, because there was no adjustment
made to any partnership items in the deficiency assessments and, therefore, that
the assessments were not the result of an adjustment in partnership items, there
was no “computational adjustment” within the meaning of the statute. Because
what occurred does not meet the definition of a computational adjustment,
according to plaintiffs, the assessments had to be addressed through a notice
of deficiency. We disagree.

        The definitions in 26 U.S.C. § 6231 are provided “[f]or purposes of
[subchapter C, Tax Treatment of Partnership Items],” as is clear from the phrase,
“under this subchapter,” in the language quoted above. Id. § 6231(a). Deficiency
proceedings for non-partnership items are addressed in subchapter B. Coordination
between subchapters B and C is addressed in subchapter C, § 6230:

       (a)    Coordination with deficiency proceedings.--

              (1)     In general.--Except as provided in paragraph (2)
                      or (3), subchapter B of this chapter shall not apply
                      to the assessment or collection of any computational
                      adjustment.

              (2)     Deficiency proceedings to apply in certain cases.--



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                      (A)     Subchapter B shall apply to any deficiency
                              attributable to--

                              (i)    affected items which require partner
                                     level determinations (other than
                                     penalties, additions to tax, and
                                     additional amounts that relate to
                                     adjustments to partnership items),
                                     or

                              (ii)   ite m s    w h ic h  h a v e b eco m e
                                     nonpartnership items (other than by
                                     reason of section 6231(b)(1)(C)) and
                                     are described in section
                                     6231(e)(1)(B).

Id. § 6230. Under paragraph (a)(1), assessments resulting from determinations
of partnership items are made through computational adjustments and do not
require a notice of deficiency. Under paragraph (a)(2), affected items requiring
partner-level determinations are specifically made subject to subchapter B
deficiency proceedings. Courts have interpreted this provision to mean that,
when dealing with affected items, the deficiency proceedings apply, and, therefore,
a notice of deficiency is required, but only when the affected items are of a type
that require partner-level factual determinations. See Olson II, 172 F.3d at 1317;
Bob Hamric Chevrolet, 849 F.Supp. at 510; Woody, 95 T.C. at 202; N.C.F. Energy
Partners, 89 T.C. at 746. In other words, a notice of deficiency is not required
when assessing affected items which do not require factual determinations.

       Plaintiffs, nevertheless, claim that such partner-level determinations were
not only required but in fact made here. Plaintiffs appear to allege that their
individual at-risk amount, rather than a partnership item, had to be re-computed
in order to arrive at an assessment, and that this constitutes a partner-level
determination. This is an erroneous understanding of what a partner-level
determination entails.

       Under TEFRA, a notice of deficiency is required when assessing “affected
items which require partner level determinations.” 26 U.S.C. § 6230(a)(2)(A);
see Bob Hamric Chevrolet, 849 F.Supp. at 510. In other words, a notice of
deficiency is required when uncertainty as to individual factual matters must
be resolved before arriving at a figure for those affected items. See Olson II,

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172 F.3d at 1317; Bob Hamric Chevrolet, 849 F.Supp. at 510; N.C.F. Energy
Partners, 89 T.C. at 746. For example, a penalty for negligently under-reporting
a partner’s share of a partnership’s tax liability requires factual inquiry into
whether the partner’s underpayment was due to negligence of that partner. See
Olson I, 37 Fed. Cl. at 732; Bob Hamric Chevrolet, 849 F.Supp. at 511. In the
case of a partner’s at-risk amount, there could be an issue as to whether
arrangements were made between the partner and third parties regarding
assumption of liabilities. Bob Hamric Chevrolet, 849 F.Supp. at 511. Such
partner-level determinations entail more than a mere mathematical calculation.
See Olson II, 172 F.3d at 1317. Factual matters must be resolved in order to
arrive at a specific figure of a given item. As discussed above, no such factual
determinations were necessary here. Plaintiffs fail to point to any specific factual
inquiry that would be necessary. Instead, plaintiffs offer the general assertion
that a partner’s at-risk amount always triggers a notice of deficiency. We disagree.

        Despite Olson, plaintiffs claim that such an ad hoc analysis was rejected
in N.C.F. Energy Partners, Roberts, Dial U.S.A., and Hambrose Leasing, and
that these at-risk amounts are, by their very nature, affected items requiring a
notice of deficiency prior to assessments. All of these cases, however, are either
misapplied or not on point. As defendant correctly points out, none of these
cases involved a situation in which there was a settlement agreement between
the partners and the IRS stipulating the critical questions of fact. In particular,
in Roberts, the IRS did issue a notice of deficiency to make an at-risk disallowance
based on certain stop-loss agreements, a factual inquiry made necessary because
the extent of the amount a partner had at-risk was not determined or stipulated.
In the present case, no comparable uncertainty exists. The plaintiffs’ at-risk
amounts in the partnerships are stipulated for each partnership. The Closing
Agreements allowed the IRS to determine the at-risk amounts with no other
information than what could be found in the relevant tax returns.

        The rest of the cases plaintiffs cite are equally inapposite. Plaintiffs
incorrectly claim that both N.C.F. Energy Partners and Dial U.S.A. noted that
the affected items at issue were the type which always require a notice of
deficiency prior to assessment. Rather, the Tax Court merely held that the items
at issue were not partnership or “S” corporation items and that they had to be
resolved through subsequent individual level proceedings. Specifically, in N.C.F.
Energy Partners, the Tax Court explicitly stated that these items must be resolved
after the partnership-level proceedings are completed “either as a matter of
computational adjustment or as the subject of subsequent notices of deficiency.”
Id. at 746. In Dial U.S.A., the Tax Court addressed the IRS’s concern that unless

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the shareholder basis, the item at issue there, was determined in an “S” corporation
proceeding, the IRS would have to issue subsequent notices of deficiency. See
95 T.C. at 6. Rejecting that concern, the Tax Court explained that there might
be situations in which the shareholder basis can be determined by a computational
adjustment and there might also be situations in which factual determinations
would be necessary. See id. Thus, contrary to plaintiffs’ contention that these
cases rejected an ad hoc analysis, they indeed stated that such an ad hoc analysis
would be necessary once a partnership-level proceeding was completed.

         It is true that, in Hambrose Leasing, the Tax Court disagreed with the
IRS’s contention that “the rationale of Roberts does not apply where the at-risk
issue relates only to the effect of netting provisions in the agreements of the
partnership.” 99 T.C. at 306. Plaintiffs appear to interpret the word “agreements”
in this paragraph to mean “settlement agreements.” A careful reading of the
relevant paragraph in Hambrose Leasing, however, reveals that what the Tax
Court was referring to was defendant’s claim that the partners’ at-risk amounts
could be dealt with in a partnership-level proceeding because stop-loss side
agreements were formed between third parties and the partnership. Thus, the
Tax Court was referring to the stop-loss agreements, not settlement agreements
between the IRS and the partners. Furthermore, the Tax Court’s holding that
“it is the potential that the section 465 issue may depend upon such arrangements
that counts,” was in the context of explaining why the items were not partnership
items but affected items. Id. at 310.

       Thus, decisions in the Tax Court support what plaintiffs describe as an
ad hoc analysis of affected items when determining whether a notice of deficiency
is required. The Federal Circuit utilized this ad hoc methodology in Olson II.

       Plaintiffs also maintain that paragraph 15 of the Closing Agreements,
which requires the IRS to offset timely-filed refund claims against an assessed
deficiency, necessitates partner-level determinations. Paragraph 15 of the Closing
Agreements states:

       Any refund claim attributable to the operation of this agreement
       shall be deemed to be timely filed and shall be allowed if it is filed
       with the IRS within one year of the execution of this agreement
       by the Commissioner of Internal Revenue. Any refund claim so
       submitted pursuant to this paragraph within 120 days after the
       execution of this agreement on behalf of the Commissioner of
       Internal Revenue shall be allowed as an offset pursuant to I.R.C.

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       §§ 6402(a) and 6601(f) against any tax deficiencies resulting from
       this agreement.

Closing Agreements, ¶ 15. Plaintiffs claim that because they timely filed refund
claims for tax years 1988 and 1990 to 1995 in accordance with the Closing
Agreements, resulting refunds should have been offset against any deficiencies
arising under the agreements. While conceding that these refund claims are
beyond the scope of the current motions, plaintiffs maintain that the application
of paragraph 15 of the Closing Agreements required a factual determination
that triggers the requirement of a notice of deficiency.

        The government claims that none of the bases for refund claims filed
for tax years 1988, 1990-1993 and 1995 was attributable to the provisions of
the Closing Agreements and therefore not applicable as an offset pursuant to
paragraph 15. Furthermore, defendant contends that, even if the IRS failed to
properly allow such refund claims, the deficiency assessments for unrelated
tax years, 1985-1987, would not be affected, because “[a]ny overpayments in
later years would only relate to the manner in which those deficiencies are
satisfied, not to the amounts of the assessments themselves.” Def.’s Reply at
7.

         Regardless of whether these refund claims for years 1988, 1990-1993
and 1995 were properly brought pursuant to the Closing Agreements, paragraph
15 of the Closing Agreements does not have a bearing on whether a notice of
deficiency was required here. As discussed above, the factual matters relevant
to determine a specific figure for plaintiffs’ at-risk amounts are what could prompt
the notice of deficiency requirement. Paragraph 15 is an agreement between
the parties to apply timely-filed refund claims as an offset against the deficiencies
resulting from the Closing Agreements. In other words, paragraph 15 operates
after any deficiency is determined, whether through computational adjustment
or through a notice of deficiency. As we have already found, paragraphs 2 to
8 of the Closing Agreements make the determination of plaintiffs’ at-risk amounts
simply computational. Even if offsets had to be allowed because of the operation
of paragraph 15, in other words, this would not affect the determination of the
plaintiffs’ at-risk amounts for the years at issue.

       The statute provides for a separate course of action if plaintiffs’ refund
claims involves the correct application of the settlement agreements, including
paragraph 15:



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       A partner may file a claim for refund on the grounds that –

               (A)    the Secretary erroneously computed                  any
                      computational adjustment necessary –
               ....
                      (ii) to apply to the partner a settlement . . . ,

               (B)    the Secretary failed to allow a credit or to make a
                      refund to the partner in the amount of the
                      overpayment attributable to the application to the
                      partner of a settlement . . . .

26 U.S.C. § 6230 (c). Resolution of the present motions, therefore, will not
preclude the court from adjudicating the merits of these refund claims at a later
point. The only issue in these cross-motions is whether, by law, a notice of
deficiency was required. It was not. The assessments were, therefore, properly
made.7/

                                CONCLUSION

      For the reasons set forth herein, we deny plaintiffs’ motion for summary
judgment and grant defendant’s cross-motion for partial summary judgment.




                                              s/ Eric Bruggink
                                             ERIC G. BRUGGINK
                                             Judge




       7
        The ruling is without prejudice to plaintiffs’ position regarding the date
of the assessments. See footnote 4, supra.

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